Case 19-50282-KG Doc 23 Filed 09/11/19 Page1of4

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

)
In re: ) Chapter 11
)
PES HOLDINGS, LLC, et ai.,' ) Case No. 19-11626 (KG)
)
Debtors. } Gointly Administered)
)
)
PES HOLDINGS, LLC, et al, CORTLAND CAPITAL )
MARKET SERVICES, LLC, )
: )
Plaintiffs, ) Ady, Pro. No. 19-50282 (KG)
v. )
)
ICBC STANDARD BANK PLC, ce. D222
Defendant. }
)

 

STIPULATION AND AGREED ORDER AMONG DEBTORS, COMMITTEE, ICBC
STANDARD BANK PLC AND CORTLAND CAPITAL MARKET SERVICES LLC IN
CONNECTION WITH THE INSURANCE PROCEEDS ADVERSARY PROCEEDING

WHEREAS, on August 7, 2019, the above captioned debtors and debtors-in-possession
(together, the “Debtor Plaintiffs”) and Cortland Capital Market Services LLC (“the Term Loan
Agent, collectively with the Debtors Plaintiffs, the “Plaintiffs”), by and through their undersigned
counsel, filed their Adversary Complaint (Adv. Pro. No. 19-50282 (KG), referred to herein at the

“Insurance Proceeds Litigation”) against Defendant ICBC Standard Bank PLC (“ICBCS”);

 

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (3952); PES
Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.

DOCS_DE:225317,1 70753/001
Case 19-50282-KG Doc 23 Filed 09/11/19 Page 2of4

WHEREAS, on August 7, 2019, the Debtors’ filed a motion for entry of a scheduling order

(the “Motion”) in connection with the Insurance Proceeds Litigation;

WHEREAS, on August 19, 2019, a Certification of Counsel regarding a revised Agreed

Scheduling Order in connection with the Insurance Proceeds Litigation was filed;

WHEREAS, on August 21, 2019, the Court entered the Agreed Scheduling Order in

connection with the Insurance Proceeds Litigation;

WHEREAS, on August 28, 2019, the Official Committee of Unsecured Creditors (the
“Committee”) submitted an application for an entry of an order authorizing retention of the law

firm of Brown Rudnick LLP (“Brown Rudnick”) as co-counsel to the Committee;

WHEREAS, counsel for the Debtor Plaintiffs, the Term Loan Agent, ICBCS, and the
Committee have continued to meet and confer regarding the Agreed Schedule governing the

Insurance Proceeds Litigation;

WHEREAS, counsel for the Committee has notified counsel for the Debtor Plaintiffs, the
Term Loan Agent and ICBCS that it intended to seek to intervene in the Insurance Proceeds

Litigation;

WHEREAS, the Debtor Plaintiffs, Term Loan Agent, and ICBCS desire to litigate and
resolve the adversary proceeding in an efficient manner, and thus have advised the Committee’s
counsel that they will not object to the Committee’s intervention or standing in the Insurance
Proceeds Litigation as a third party plaintiff, in which the Committee intends fo assert that any

business interruption proceeds paid to the Debtors by their carriers are not encumbered by any

liens (the “Third Party Complaint”);
Case 19-50282-KG Doc 23 Filed 09/11/19 Page 3of4

WHEREAS, this Court has jurisdiction over the matter pursuant to 28 U.S.C. §§ 157 and
1334 and the Amended Standing Order; and this Court may enter a final order consistent with
Article Ill of the United States Constitution; and this Court having found that venue of this
proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and
the parties having conferred and agreed; and after due deliberation and sufficient cause appearing

therefor,

NOW THEREFORE, upon consent and agreement of the Parties by their attorneys, it is

HEREBY AGREED AND ORDERED THAT:

1. By agreement of the parties and pursuant to 11 U.S.C. § 1109(b), the Committee is
granted leave to intervene and standing and leave to file and prosecute the causes of action in the

Third Party Complaint.

2. The Court’s previously-entered schedule is stricken and, going forward, the
following schedule shall govern the Insurance Proceeds Litigation:

« Friday, September 13, 2019 at 4 p.m., prevailing Eastern Time, shal! be the date by
which ICBCS’s answer to the Adversary Complaint, and counterclaims, if any, and the
Committee’s Third Party Complaint, shall be filed.

¢ Tuesday September 24, 2019 at 4 p.m., prevailing Eastern Time, shal! be the date
on which the Plaintiffs’ answer to ICBCS’s counterclaims, if any, and all answers to
the Committee’s Third Party Complaint, shall be filed.

e Friday, October 4, 2019, at 4:00 p.m., prevailing Eastern Time, shall be the date by
which the Plaintiffs, Committee and ICBCS may each file a Dispositive Motion.

« Friday, November 1, 2019, at 4:00 p.m., prevailing Eastern Time, shall be the date
by which the Plaintiffs, Committee and ICBCS may file an opposition to the
Dispositive Motions filed by ICBCS, the Committee and the Plaintiffs, respectively.

e Friday, November 22, 2019, at 4:00 p.m., prevailing Eastern Time, shall be the date
‘by which the Plaintiffs, Committee and ICBCS may file a reply in support of their
respective Dispositive Motions.
Case 19-50282-KG Doc 23 Filed 09/11/19 Page 4of4

¢ Tuesday, December 3, 2019, at 10:00 a.m., prevailing Eastern Time, or as soon
thereafter as the parties may be heard shall be the a. 0 aate. the Court holds a. ;

peste ot the Pispopitive Motions. TiAg, agiual 4 £& (1S TO be wee

3. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

   

are immediately effective and enforceable upon its entry.

4, The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

5. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Oyder.

Supteuber 11,2019

  

 
